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                                                        U.S. Department of Justice

                                                        Channing D. Phillips
                                                        Acting United States Attorney

                                                        District of Columbia


                                                        Judiciary Center
                                                        555 Fourth St., N.W.
                                                        Washington, D.C. 20530


                                                     October 25, 2021

Via Email
Michael E. Lawlor
Nicholas G. Madiou
Brennan, McKenna & Lawlor, Chtd.
6305 Ivy Lane, Suite 700
Greenbelt, MD 20770
mlawlor@verizon.net
nickmadiou@gmail.com
Counsel for Zachary Jordan Alam

       Re:      United States v. Zachary Jordan Alam
                Case No. 1:21-cr-00190-DLF

Dear Counsel:

       Enclosed as additional discovery in this case, via filesharing, are the following materials:
          1. Defendant’s iCloud search warrant scoped report and production (93 files)
          2. Defendant’s flip phone extraction (131 files)
          3. Defendant’s cell site search warrant pings (1 zip file)
          4. Certified NY complaint, indictment, and disposition
          5. MARKED HIGHLY SENSITIVE: Additional CCTV videos of defendant
              (3 files)
          6. MARKED SENSITIVE: Videos obtained from other Capitol
              investigations:
                  a. D-12 – 4 videos
          7. FBI exhibits used in 2/10/21 officer interviews
          8. D-14 open-source interviews about defendant (2 videos)

       The discovery is unencrypted. Please contact me if you have any issues accessing the
information, and to confer regarding pretrial discovery as provided in Fed. R. Crim. P. 16.1.

        These materials are subject to the Protective Order entered in this case. Please adhere to
sensitivity markings.
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        I will forward additional discovery as it becomes available. In the meantime, please let
me know if there are any categories of information that you believe are particularly relevant to
your client.

       If you have any questions, please feel free to contact me.

                                                     Sincerely,



                                                     _______________________
                                                     Candice C. Wong
                                                     Assistant United States Attorney
                                                     202-252-7849
                                                     Candice.wong@usdoj.gov




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